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TORGER OAAS
ATTORNEY AT LAW

618 West Main; Suite 201
Post Off`lce Box 76
Lewistown, Montana 59457
(406) 538-2338
oaaslaw@midrivers.com
Attorney for Plaintiff

WILLIAM E. BERGER
WILKINS & BERGER
PO Box 506
Lewistown, MT 59457
(406) 538-9272
Attorney for Plaintiff

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BUTTE DIVISION

 

GINA JAEGER, individually, AND AS CV-16_3()_BU_SEH
PERSONAL REPRESENTATIVE OF THE
ESTATE OF HER SISTER CHARLENE
HILL,

Plaintiffs, NOTICE OF APPEAL

V&

WILLIAM POWELL, DANA WADDELL,
AMBER DAYHUFF, PEAK MEDICAL
MONTANA OPERATIONS, LLC AND
GENESIS HEALTHCARE, INC.,

Defendants.

 

 

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Notice is hereby given that Gina Jaeger, individually, and as personal
representative of the estate of her sister Charlene Hill, Plaintiffs in the above
named case, hereby appeal to the United States Court of Appeals for the 9th
Circuit from an order denying Plaintifi"s Motion for Remand. This motion
was made pursuant to 28 U.S.C. § l447(e). The order Was entered in this

action on the 6th day of January, 2017.

By /s/ Torger Oaas
TORGER OAAS

PO Box 76

Lewistown, MT 59457
oaaslaW(ZDmidrivers.€om
Co-counsel for Plaintiff

 

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